                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                    3:08-cr-259


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                  ORDER
                                         )
LORETTA BLAKENEY-HERRON (1)              )
________________________________________ )


       THIS MATTER is before the Court upon letters of the defendant pro se for deferral of

her restitution payments until she is released from federal custody. (Doc. Nos. 301, 303).

       Apparently, the defendant is enrolled in the Inmate Financial Responsibility Program

(“IFRP”). Participation in the IFRP is voluntary, and an inmate becomes eligible for certain

benefits by her involvement in the program. 28 C.F.R. § 545.11 et seq. A team at a prison facility

considers an inmate’s financial information, monitors the amount of money in her trust account,

and determines the required monthly payment for participation in the program.

       Here, the Court ordered that payment of the defendant’s criminal monetary penalties was

due immediately and recommended participation in the IFRP. (Doc. No. 273: Amended Judgment

at 2, 5). Any balance outstanding at the time she begins her supervision is to be paid in

installments of $50 per month to commence 60 days after her release from imprisonment. (Id.). In

her letters, the defendant requests that she be spared her monthly payment while incarcerated

because of the hardship it places on her elderly mother. However, the program does not require

outside sources to contribute to the IFRP. 28 C.F.R. § 545.11(b). The defendant has the choice of

whether to remain in the program, or can challenge its execution through administrative remedies.




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       IT IS, THEREFORE, ORDERED, that the defendant’s requests to defer restitution

payments through the IFRP (Doc. Nos. 301, 303) are DENIED.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the United States

Probation Office.


                                                  Signed: February 28, 2012




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